CM/ECF-GA Northern District Court                                  https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?244813306114342-...
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                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION
                                                    1:17-cv-02989-AT
                                            Curling et al v. Raffensperger et al
                                               Honorable Amy Totenberg

                                Minute Sheet for proceedings held In Open Court on 09/09/2022.


              TIME COURT COMMENCED: 01:10 P.M.
                                                                 COURT REPORTER: Shannon Welch
              TIME COURT CONCLUDED: 03:05 P.M.
                                                                 CSO/DUSM: Edwin Price
              TIME IN COURT: 1:55
                                                                 DEPUTY CLERK: Harry Martin
              OFFICE LOCATION: Atlanta

         ATTORNEY(S)                Joshua Belinfante representing Brad Raffensperger
         PRESENT:                   Bruce Brown representing Coalition for Good Governance
                                    David Cross representing Donna Curling
                                    Robert McGuire representing Coalition for Good Governance
                                    Carey Miller representing Brad Raffensperger
                                    Javier Pico-Prats representing The State Election Board
                                    Cheryl Ringer representing The Fulton County Board of Registration and
                                    Elections
                                    Vincent Russo representing Brad Raffensperger
         PROCEEDING
                                    Discovery Hearing(Oral Argument Hearing);
         CATEGORY:
         MINUTE TEXT:               See Transcript
         HEARING STATUS:            Hearing Concluded




1 of 2                                                                                                              9/9/2022, 4:48 PM
CM/ECF-GA Northern District Court                        https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?244813306114342-...
                         Case 1:17-cv-02989-AT Document 1475 Filed 09/09/22 Page 2 of 2




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